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                             May 25, 2023

Nadine Pellegrini &
     Amanda Beck, AUSA's
United States Attorney's Office
1 Courthouse Way - 9th Fl.
Boston, MA 02210

Re:   USA v. Harry TAM, Case 1:21-cr-10350-1 LTS
      Defendant's Discovery at Wyatt Still Missing

Dear Nadine and Amanda,

Defendant files this letter under Local Rules 116.3 and 116.4.
I wish to acknowledge first, however, that your office has
always been helpful and courteous in providing electronic
discovery. I am pressing this matter only because we are
running out of time for defendant to review the intercepts.

A month ago, I sent you emails showing that Mr. Tam was not
getting his Rule 116.4 discovery at Wyatt. Mr. Tam reported in
a conversation yesterday that he still has not received
discovery. I quote from my emails of April 25 and 26.

April 25 email:

      Tam reports there is a problem with the discovery. He
      says he has had some discovery access, but he cannot
      get into the disk or drive that was given to
      Wyatt. He said that he believed that the disk had
      been sent back to you [sic] office months ago. Do you
      know anything about it?

April 26 email (forwarding report from Wyatt administration):

       . . . .

      What Tam told me is apparently true. He has not
      gotten access to discovery. Having him hear the
      intercepts would go a long way to resolving the case.
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     . . . .


    From: Yaniris Paulino
    Subject: RE: Harry Tam D Mass Case No 1-21-cr-10350 LTS
    Date: April 26, 2023 at 8:56:59 AM EDT
    To: Kevin Barron , Lus Jimenez
    Cc: Susan Devonis

    Good morning,

    This discovery was sent back due to it not working properly. This was sent out on
    9/29/2022. We have not received anything back. Detainee Tam was made aware of this
    and he was also notified that once new discovery was sent in that he will be notified.
    Unfortunately I have not received anything as of yet. You can reach out to the USDOJ
    and see why it has not been sent

    Mrs. Yaniris Rodriguez
    Evidence & Grievance Coordinator
    Donald W. Wyatt Detention Facility


Please have your office attend to this.

It would also be helpful if your office were to request that, in
these circumstances, Wyatt administration give Mr. Tam
supplemental computer time to review the intercepts.

Respectfully yours,
/s/Kevin L. Barron
Kevin L. Barron
KB
Cc: Mike Andrews
